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                   10

                   11                                     UNITED STATES DISTRICT COURT

                   12                                NORTHERN DISTRICT OF CALIFORNIA

                   13    NEO4J, INC., a Delaware corporation,              CASE NO. 5:18-cv-07182-EJD
                         NEO4J SWEDEN AB, a Swedish
                   14    corporation,                                      PLAINTIFFS’ NOTICE OF MOTION AND
                                                                           MOTION FOR JUDGMENT ON THE
                   15                       Plaintiffs,                    PLEADINGS RE: DEFENDANTS’
                                                                           SECOND AMENDED COUNTERCLAIMS
                   16            v.                                        AND ANSWER TO THIRD AMENDED
                                                                           COMPLAINT; MEMORANDUM OF
                   17    PURETHINK LLC, a Delaware limited                 POINTS AND AUTHORITIES IN
                         liability company, IGOV INC., a Virginia          SUPPORT THEREOF
                   18    corporation, and JOHN MARK SUHY, an
                         individual,                                       [Fed. R. Civ. P. 12(c)]
                   19
                                            Defendants.                    Date:        January 13, 2022
                   20                                                      Time:        9:00 a.m.
                                                                           Dept.:       Courtroom 4, 5th Floor
                   21    AND RELATED COUNTERCLAIMS.                        Judge:       Hon. Edward J. Davila
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                     1           TO ALL PARTIES AND COUNSEL OF RECORD:
                     2           PLEASE TAKE NOTICE that on January 13, 2022, at 9:00 a.m., Courtroom 4, 5th Floor,
                     3   at the United States District Court located at 280 South First Street, San Jose, CA 95113 before the
                     4   Honorable Edward J. Davila, Plaintiffs and Counter-Defendants Neo4j, Inc. (“Neo4j USA”) and
                     5   Neo4j Sweden (“Neo4j Sweden”) will, and hereby do, move for a judgment on the pleadings
                     6   pursuant to Federal Rule of Civil Procedure 12(c) (“Rule 12(c)”) on the First Cause of Action for
                     7   Interference with Prospective Economic Advantage, and Fifth and Sixth Causes of Action for
                     8   Declaratory Relief asserted by Defendants John Mark Suhy, PureThink LLC, and iGov Inc.
                     9   (collectively “Defendants”) in their Second Amended Counterclaim (Dkt. No. 72).
                   10            Neo4j USA and Neo4j Sweden (collectively “Plaintiffs”) further will, and hereby do, move
                   11    for a judgment on the pleadings pursuant to Rule 12(c) on the First, Second and Sixth Affirmative
                   12    Defenses asserted in Defendants’ Answer to the Third Amended Complaint (Dkt. No. 91), which
                   13    are based on the same theories as and/or seek the same relief sought in Defendants’ their Fifth and
                   14    Sixth Causes of Action for Declaratory Relief.
                   15            This Motion is based on this Notice of Motion and Motion, the attached Memorandum of
                   16    Points and Authorities, the Declaration of Jeffrey M. Ratinoff (“Ratinoff Decl.”) filed herewith, all
                   17    records and pleadings on file in this action, and all other matters that the Court may take judicial
                   18    notice or otherwise properly consider.
                   19                                   WAIVER OF ORAL ARGUMENT
                   20            If the Court is inclined to grant this Motion for Judgment on the Pleadings, in whole or in
                   21    part, it will significantly narrow the scope of discovery and reduce the costs incurred by the parties
                   22    associated therewith. As such Plaintiffs waive oral argument and agree to have the Court take this
                   23    Motion under submission once it is fully briefed by the Parties to expedite its disposition.
                   24                                          REQUESTED RELIEF
                   25            Neo4j USA respectfully requests that the Court dismiss Defendants’ First, Fifth and Sixth
                   26    Causes of Action in their Second Amended Counterclaim (Dkt. No. 72); and First, Second and
                   27    Sixth Affirmative Defenses asserted in Defendants’ Answer to the Third Amended Complaint (Dkt.
                   28    No. 91) with prejudice.
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                     1                              STATEMENT OF ISSUES TO BE DECIDED
                     2           1.      Whether Defendants can continue to maintain their First Cause of Action for
                     3   Intentional Interference with Prospective Economic Advantage after the California Supreme Court
                     4   held that competitive restrictions in contracts between businesses, such as Section 4.3.2 of the
                     5   Partner Agreement, are not invalid or void as a matter of public policy pursuant to Cal. Bus. & Prof.
                     6   Code § 16600.
                     7           2.      Whether Defendants have otherwise alleged a legally viable claim for Intentional
                     8   Interference with Prospective Economic Advantage in their First Cause of Action.
                     9           3.      Whether there is an actual case and controversy over the validity and enforceability
                   10    of the 36-month restriction in Section 4.3.2 of the Partner Agreement as alleged in Defendants’
                   11    Fifth Cause of Action for Declaratory Relief and First Affirmative Defense given the
                   12    aforementioned decision by the California Supreme Court.
                   13            4.      Whether there is an actual case and controversy over whether Sections 4.3.1 and
                   14    4.3.2 of the Partner Agreement violate Defendants’ right to use source code underlying the Neo4j
                   15    Software under the Affero General Public License ( “AGPL” ) as alleged in Defendants’ Sixth
                   16    Cause of Action and Second and Sixth Affirmative Defenses.
                   17            5.      Whether the Court should dismiss the foregoing counterclaims and affirmative
                   18    defenses with prejudice.
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                     1                        MEMORANDUM OF POINTS AND AUTHORITIES
                     2   I.      INTRODUCTION
                     3           Defendants PureThink LLC, iGov Inc. and John Mark Suhy (collectively “Defendants”)
                     4   filed their Second Amended Counterclaims (“SACC”) on June 5, 2020. The SACC contained
                     5   claims for intentional interference and declaratory relief that were based on allegations that a 3-
                     6   year contractual restriction on PureThink supporting open-source Neo4j Software, which it
                     7   voluntarily agreed to when it became a partner-reseller with Plaintiff Neo4j, Inc. (“Neo4j USA”),
                     8   violated Cal. Bus. & Prof. Code § 16600 (“Section 16600”). A month later, the restriction in
                     9   question expired. In September 2020, the California Supreme Court held that non-compete
                   10    provisions in contacts entered into between businesses are not void as a matter of public policy
                   11    pursuant to Section 16600. See Ixchel Pharma, LLC v. Biogen, Inc., 9 Cal.5th 1130 (2020).
                   12            Since that time, Defendants made no effort to amend their intentional interference and
                   13    declaratory relief claims, and even asserted identically plead affirmative defenses in their answer
                   14    to Plaintiffs’ Third Amended Complaint filed a month after the Ixchel decision negated them.
                   15    Plaintiffs sought a voluntarily dismissal of these claims, but Defendants continued to insist that the
                   16    remained viable despite failing to identify any new or different facts that would save these claims
                   17    and defenses. As a result, these claims and affirmative defenses are subject to a judgment on the
                   18    pleadings because they are based on the legally incorrect assumption that the contractual restriction
                   19    in question automatically violates Section 16600.
                   20            Defendants also continue to maintain claims for declaratory relief on the theory that Neo4j
                   21    Sweden could not add the Commons Clause to a license based on the AGPL. This Court already
                   22    determined that Neo4j Sweden could do so, and that Defendants’ removal thereof was improper.
                   23    Consequently, the case law doctrine mandates their dismissal with prejudice. Even if that doctrine
                   24    were not to apply, their interpretation of the contractual provisions at issue is legally untenable.
                   25            Defendants have had ample opportunity to drop or reconstitute the foregoing claims, while
                   26    continuing to ignore what are now incurable legal defects. Accordingly, the Court should enter a
                   27    judgment on the pleadings in favor of Plaintiffs on the counterclaims and defenses at issue and
                   28    dismiss them with prejudice.
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                     1   II.     FACTUAL AND PROCEDURAL BACKGROUND
                     2           A.      The Parties’ Prior Relationship
                     3           Neo4j USA specializes in graph database management systems. Neo4j USA’s graph
                     4   database platform helps organizations make sense of their data by revealing how people, processes
                     5   and digital systems are interrelated. Dkt. No. 118 at 2:8-14. Neo4j USA is the parent corporation
                     6   of Neo4j Sweden, which in turn is a wholly owned subsidiary of Neo4j USA. Neo4j Sweden owns
                     7   of all copyrights related to the Neo4j graph database platform, including the source code, and has
                     8   licensed those copyrights to Neo4j USA. Id. at 2:15-26; Dkt. No. 72, ¶ 87.
                     9           Plaintiffs originally offered a free and open source version of the source code for the Neo4j
                   10    software, meaning that the source code was available to the public on GitHub pursuant to the GNU
                   11    General Public License version 3 (“GPL”). Dkt. No. 72, ¶¶ 7-11. This version is known as Neo4j®
                   12    Community Edition (“Neo4j® CE”), which is limited in features set and does not come with
                   13    technical support. Id. Plaintiffs also offered licenses to the source code for a more advanced
                   14    commercial version with included additional features and support services, known as Neo4j®
                   15    Enterprise Edition (“Neo4j® EE”). Id. Neo4j® EE was originally offered under both a paid-for
                   16    commercial license and the AGPL. Id.
                   17            B.      PureThink Enters Into the Partner Agreement with Neo4j USA
                   18            PureThink is a software and information technology consulting company founded by Suhy.
                   19    See Dkt. 72, ¶¶ 12-13. On September 30, 2014, PureThink and Neo4j USA entered into the Neo4j
                   20    Solution Partner Agreement (“Partner Agreement”). Dkt. No. 72, ¶ 15 and Exh. B.
                   21            Under this agreement, PureThink had a non-exclusive, non-transferable limited license to,
                   22    inter alia, use the Neo4j Mark solely to market and resell commercial licenses to Neo4j Software
                   23    and related support services in exchange for shared revenue for the licenses that it resold. Dkt. No.
                   24    72, Exh. B at §4.1. All rights and licenses would terminate upon the expiration or termination of
                   25    the agreement. Id., Exh. B at §7.3. PureThink further agreed that while the Partner Agreement was
                   26    in effect and for a period of 36 months after termination thereof, it would not “develop, market,
                   27    distribute or offer any services related to any [Neo4j® CE] Products, derivative works of such
                   28    products, or any [Purethink] software code made to work with [Neo4j® CE] Products (including,
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                     1   without limitation, hosting services, training, technical support, configuration and customization
                     2   services, etc.).” Id., Exh. B at § 4.3.2.
                     3           C.      PureThink Breaches the Partner Agreement and Forms iGov to Evade the
                                         Post-Termination Restrictions on Supporting Open Source Neo4j Software
                     4

                     5           In the hope of increasing sales, Suhy came up with the idea of rebranding Neo4j® EE as
                     6   Neo4j® Government Edition (“Gov’t Edition”). See Dkt. No. 72, ¶ 16. Despite PureThink’s
                     7   marketing efforts, its success was limited to convincing only three government agencies (MPO,
                     8   Sandia National Laboratories, and the FBI) to adopt the Gov’t Edition and pay for support services
                     9   from PureThink. By September 2016, the only new lead PureThink had was the IRS. See id., ¶¶
                   10    18-20. However, the IRS indicated that they first needed a prototype built and that a full
                   11    commercial subscription would leave them with no development budget. See id. To make that
                   12    deal happen, Suhy told the IRS they could use Neo4j® EE under the AGPL for free and pay
                   13    PureThink for its consulting services. See id.
                   14            Defendants allege that after Neo4j USA found about PureThink’s contract with the IRS,
                   15    Neo4j USA falsely told the IRS that (1) there were differences between the open source and
                   16    commercial versions of Neo4j Software; and (2) it could not use Neo4j Software licensed under the
                   17    AGPL in a closed environment, and instead needed to purchase a commercial license. See Dkt.
                   18    No. 72, ¶¶ 19-20. When PureThink told the IRS that neither were true and insisted that it could
                   19    support the IRS’ use of open source licensed Neo4j Software, Neo4j USA notified PureThink that
                   20    this was a material breach of Section 4.3.1 of the Partner Agreement on May 30, 2017. See id., ¶
                   21    21; see also Dkt. No. 90 at ¶ 33 and Dkt. No. 91 at ¶ 33 (admitting same).
                   22            On or about July 11, 2017, Neo4j USA provided notice that it had terminated the Partner
                   23    Agreement. See Dkt. No. 72, ¶ 21; see also Dkt. No. 90 at ¶ 35, Exh. 4 and Dkt. No. 91 at ¶ 35
                   24    (admitting same). That same day, Neo4j USA informed the IRS that PureThink was not authorized
                   25    to provide consulting and support services for open source versions of Neo4j Software and was
                   26    precluded from doing so for 36 months due to the terms it had agreed to in the Partner Agreement.
                   27    See Dkt. No. 72, ¶ 21 and Exh. D. Defendants then admitted to setting up iGov to evade
                   28    PureThink’s remaining contractual obligations under the Partner Agreement. Id., ¶ 21.
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                     1           D.      Defendants’ Intentional Interference Claim Based on the Partner Agreement
                     2           Defendants’ First Cause of Action asserts an intentional interference with prospective
                     3   economic advantage (“IIPEA”) claim against Neo4j USA. Dkt. No. 72, ¶¶ 22-34. Based on
                     4   information and belief, Defendants allege that Neo4j USA told eighteen other potential customers
                     5   in the government sector that “PureThink was terminated as a solution partner and could not support
                     6   open source versions of Neo4j for a period of 36 months following termination.” Id., ¶¶ 23-24, 27.
                     7   Defendants allege on information and belief that Neo4j USA informed six potential customers of
                     8   iGov that it was subject to the same 36 month restriction. Id., ¶¶ 25, 27. Defendants do not allege
                     9   any facts establishing the basis for its conclusory allegations that it had an actual economic
                   10    relationship that was disrupted by Neo4j USA’s statements regarding the Partner Agreement or its
                   11    conclusory allegations that Neo4j USA had knowledge of such relationships. Id., ¶¶ 23-26, 31.
                   12            Defendants further allege that Neo4j USA’s alleged statements to their potential customers
                   13    regarding the restrictions imposed by the Partner Agreement “was an independent wrongful act as
                   14    it violated California Business and Professions Code §16600.” Dkt. No. 72, ¶ 29. As a result,
                   15    Defendants allegedly suffered in excess of $1.3 million in damages. Id.
                   16            E.      Defendants’ Related Declaratory Relief Claims and Affirmative Defenses
                   17            In addition to the foregoing tort claim, Defendants assert duplicative claims for declaratory
                   18    relief in their Answer to the Third Amended Complaint filed on October 19, 2020. In the Fifth
                   19    Cause of Action, Defendants seek a declaratory judgment that post-termination restriction imposed
                   20    by Section 4.3.2 of the Partner Agreement is void via Section 16600. Dkt. No. 72, ¶¶ 54-57.
                   21    Defendants’ First Affirmative defense seeks identical relief. See Dkt. No. 91 at 14:4-22.
                   22            Defendants’ Sixth Cause of Action seeks a declaratory judgment that Sections 4.3.1 and
                   23    4.3.2 of the Partner Agreement violate their right to use Neo4j Software source code licensed under
                   24    the AGPL as they see fit. Dkt. No. 72, ¶¶ 58-61. Defendants’ Second Affirmative Defense (Dkt.
                   25    No. 91 at 14:23-16:5) and Sixth Affirmative Defenses seek similar relief (id. at 20:2-9).
                   26            F.      Defendants Fail to Reconcile the Fatal Defects in Their Counterclaims
                   27            On July 29, 2021, the parties met and conferred over the Phase 2 schedule as required by
                   28    the Court. Ratinoff Decl., ¶ 3. During that discussion, Plaintiffs requested that Defendants consider
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                     1   narrowing the counterclaims since their intentional interference claim would potentially require
                     2   more than 20 third party depositions and that some of Defendants’ declaratory relief claims were
                     3   now moot. Plaintiffs indicated they would also attempt to identify the deficiencies in these
                     4   counterclaims. Id. Defendants seemed open to potentially narrowing the scope of their claims. Id.
                     5           On August 6, 2021, Plaintiffs sent a 7-page substantive letter detailing the legal defects in
                     6   Defendants’ counterclaims and defenses subject to the present motion. Ratinoff Decl., ¶ 4 and Exh.
                     7   1. Given Defendants’ concerns about litigation expenses conveyed to the Court on July 22, 2021,
                     8   Plaintiffs offered to further meet and confer about the issues raised in the letter, and asked
                     9   Defendants to confirm whether they were open to reaching some sort of stipulated dismissal of
                   10    these claims. Only after Plaintiffs followed up with Defendants, did they finally respond on August
                   11    23, 2021. See id. Ultimately, the parties were able to reach an agreement on the dismissal of
                   12    Defendants’ intentional interference with contractual relations and unfair competition claim
                   13    asserted pursuant to Cal. Bus. & Prof Code § 17200 et seq. See Dkt. No. 131. Defendants refused
                   14    to dismiss the counterclaims and affirmative defenses subject to this motion, and did not provide
                   15    any specific legal authority or additional facts that would justify the continued assertion of such
                   16    claims and defenses. See Ratinoff Decl., ¶¶ 5-6 and Exh. 2.
                   17    III.    APPLICABLE LEGAL STANDARDS ON A RULE 12(c) MOTION
                   18            Federal Rule of Civil Procedure 12(c) (“Rule 12(c)”) provides that “[a]fter the pleadings
                   19    are closed—but early enough not to delay trial—a party may move for judgment on the pleadings.”
                   20    Fed. R. Civ. P. 12(c). Similar to Rule 12(b)(6) motion, a Rule 12(c) motion challenges the legal
                   21    sufficiency of the opposing party’s pleadings. See Chavez v. United States, 683 F.3d 1102, 1108
                   22    (9th Cir. 2012); see also Perez v. Wells Fargo & Co., 75 F.Supp.3d 1184, 1187 (N.D. Cal. 2014).
                   23    “Under either provision, a court must determine whether the facts alleged in the complaint, taken
                   24    as true, entitle the plaintiff to a legal remedy, and dismiss the claim or enter judgment on the
                   25    pleadings if the complaint fails to state a legally sufficient claim.” Ross v. U.S. Bank Nat. Ass’n,
                   26    542 F.Supp.2d 1014, 1023 (N.D. Cal. 2008); see also Fleming v. Pickard, 581 F.3d 922, 925 (9th
                   27    Cir. 2009) (recognizing “[j]udgment on the pleadings is properly granted when there is no issue of
                   28    material fact in dispute, and the moving party is entitled to judgment as a matter of law”).
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                     1           It is common for courts to grant Rule 12(c) motions where a moving party seeks judgment
                     2   on the pleadings with respect to individual causes of action. See Strigliabotti v. Franklin Res., Inc.,
                     3   398 F.Supp.2d 1094, 1097 (N.D. Cal. 2005); see also Moran v. Peralta Community College Dist.,
                     4   825 F.Supp. 891, 893 (N.D. Cal. 1993) (recognizing that “[c]ourts … may dismiss causes of action
                     5   rather than grant judgment”). Likewise, courts may grant Rule 12(c) motions aimed at answers and
                     6   dismiss individual affirmative defenses. Innovation Ventures, LLC v. Pittsburg Wholesale Grocers,
                     7   Inc., 2013 WL 4519805, at *1 (N.D. Cal. Aug. 23, 2013) (granting motion for judgment on the
                     8   pleadings with respect to three of defendant’s affirmative defenses).
                     9           In deciding a Rule 12(c) motion, courts use the same pleading standards articulated in
                   10    Twombly and Iqbal. Chavez, 683 F.3d at 1108-1109. Thus, the Court must assess whether the
                   11    complaint “contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief that is
                   12    plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.
                   13    Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads
                   14    factual content that allows the court to draw the reasonable inference that the defendant is liable for
                   15    the misconduct alleged.” Iqbal, 556 U.S. at 678.
                   16            In deciding whether to grant a motion for judgment on the pleadings, the Court accepts all
                   17    material facts alleged as true and construes them in the light most favorable to the non-moving
                   18    party. Fleming v. Pickard, 581 F.3d 922, 925 (9th Cir. 2009). However, this tenant “is inapplicable
                   19    to legal conclusions.” Iqbal, 556 U.S. at 678–79; accord Epstein v. Wash. Energy Co., 83 F.3d
                   20    1136, 1140 (9th Cir. 1996) (“conclusory allegations of law and unwarranted inferences are
                   21    insufficient to defeat a motion to dismiss for failure to state a claim”). A court thus discounts
                   22    conclusory statements, which are not entitled to the presumption of truth, before determining
                   23    whether a claim is plausible. Iqbal, 556 U.S. at 678. The Court may also consider documents that
                   24    are attached to the complaint, incorporated by reference when their authenticity is not contested, or
                   25    are otherwise properly the subject to judicial notice. See Ramachandran v. City of Los Altos, 359
                   26    F.Supp.3d 801, 810 (N.D. Cal. 2019). However, the Court need not accept as true allegations
                   27    contradicted by judicially noticeable facts, or by exhibits attached to or incorporated in the pleading.
                   28    Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
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                     1   IV.     LEGAL ARGUMENT
                     2           A.      Defendants Fail To State a Viable Counterclaim for Intentional Interference
                                         with Prospective Economic Advantage
                     3

                     4           Defendants’ First Cause of Action for Intentional Interference with Prospective Economic

                     5   Advantage (IIPEA) is no longer viable as pled. To prevail on their first cause of action for

                     6   intentional interference with prospective economic advantage, Defendants must plead and prove

                     7   (1) existence of an economic relationship between them and some third party, with the probability

                     8   of future economic benefit to Defendants; (2) Neo4j USA’s knowledge of the relationship; (3)

                     9   intentional acts by Neo4j USA designed to disrupt the relationship; (4) actual disruption of the

                   10    relationship; and (5) economic harm to the Defendants proximately caused by the acts of Neo4j

                   11    USA. Korea Supply Co. v. Lockheed Martin Corp., 29 Cal.4th 1134, 1153 (2003) (citing Della

                   12    Penna v. Toyota Motor Sales, U.S.A., Inc., 11 Cal.4th 376, 393 (1995)). As discussed below,

                   13    Defendants’ counterclaim fails to allege facts that establish several of these elements.

                   14                    1.      The SACC Fails to Establish an Independently Wrongful Act

                   15            To establish that Neo4j USA engaged in acts designed to disrupt Defendants’ prospective

                   16    relationships, it is critical for Defendants to “plead and prove that the defendant’s acts are wrongful

                   17    apart from the interference itself.” Korea Supply Co., 29 Cal.4th at 1154. An act “is independently

                   18    wrongful if it is unlawful, that is, if it is proscribed by some constitutional, statutory, regulatory,

                   19    common law, or other determinable legal standard.” Id. at 1159. The only act of interference

                   20    alleged by Defendants is that Neo4j USA told certain potential customers that Defendants could

                   21    not provide support services to licensees of open source versions of Neo4j software for a period of

                   22    36 months after the termination of the Partner Agreement. Dkt. No. 72, ¶ 27. Defendants allege

                   23    that this was an independently wrongful act because the underlying contractual provision, i.e.

                   24    Section 4.3.2 of the Partner Agreement, was void as a matter of public policy pursuant to Section

                   25    16600. Id., ¶ 29. This does not amount to an independent wrongful act for at least four reasons.

                   26            First, PureThink voluntarily entered into the Partner Agreement where it agreed to be bound

                   27    by a specific license to support and distribute Neo4j Software. See Dkt. No. 72, ¶ 15. In doing so,

                   28    it knowingly gave up any alleged right to offer or provide support services to licensees of open
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                     1   source Neo4j Software it may have had under the AGPL in exchange for obtaining a 25%
                     2   commission, a trademark license, a 20% discount on training, access to confidential sales and
                     3   customer information and over a dozen other partnership benefits. See Dkt. No. 72, ¶ 12 and Exh.
                     4   B (p. 53 of 63). As a result, Defendants cannot claim that these restrictions amount to an
                     5   independent, unlawful act. See Universal Gym Equip., Inc. v. ERWA Exercise Equip. Ltd., 827
                     6   F.2d 1542, 1550 (Fed. Cir. 1987) (parties to a contract subject to California law may limit their
                     7   right to take action they previously had been free to take).
                     8           Second, the post-termination applicability of these restrictions is proper in this case because
                     9   they pertain to protecting Neo4j USA’s intellectual property rights. See King v. Gerold, 109
                   10    Cal.App.2d 316 (1952).1 The holding in King is instructive here. In that case, a trailer designer
                   11    granted a license to a trailer manufacturer to produce a particular trailer model. The parties agreed
                   12    that if the license was not renewed on its initial expiration date, the manufacturer would “cease to
                   13    produce said trailer for any purpose whatsoever.” Even though the license was not renewed, the
                   14    manufacturer persisted in producing the trailer and the designer sued to enforce the contract. The
                   15    King court upheld the validity of the provision, and rejected the manufacturer’s argument that it
                   16    was an illegal restraint under Section 16600 because it was not prohibited from carrying on its
                   17    lawful business of manufacturing trailers.        Rather, the manufacturer was only barred from
                   18    producing one particular model. See King, 109 Cal.App.2d at 318.
                   19            Similar to King, the Partner Agreement did not restrict Defendants’ ability to provide
                   20    consulting and support services to end-users that either purchase a commercial license for Neo4®
                   21    Software or end users of any other graph database software. See Dkt. No. 72, Exh. B at § 4.3.2.
                   22    Likewise, there were no restrictions on Defendants independently developing their own graph
                   23    database software. See id. More importantly, in exchange for these limitations, PureThink obtained
                   24

                   25    1
                            The California Supreme Court concluded that King was not authority for the proposition that
                   26     noncompetition clauses imposing a limited or narrow-restraint did not violate Section 16600. See
                          Edwards v. Arthur Andersen LLP, 44 Cal.4th 937, 950, at pp. 948–950 and fn 5 (2008). As
                   27
                          discussed below, the California Supreme Court recently clarified that the holding in Edwards was
                   28     limited to employee mobility cases, and did not apply to commercial agreements.
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                     1   access to Neo4j’s proprietary customer database, sales and marketing material and pricing
                     2   information pursuant to the confidentiality provisions in the Partner Agreement. See Dkt. No. 72,
                     3   Exh. B at § 3 and Dkt. No. 72 at p. 53 of 63. As a result, even if this case involved an employee-
                     4   employer relationship, which it does not, such post-termination restrictions would not violate
                     5   Section 16600. See E.D.C. Techs., Inc. v. Seidel, 216 F.Supp.3d 1012, 1015 (N.D. Cal. 2016)
                     6   (recognizing that “[c]ourts have found an exception to section 16600 ... where the agreement is
                     7   ‘necessary to protect the employer’s trade secrets’ or confidential information”).
                     8           Third, Defendants’ IIPEA claim predated the California Supreme Court’s decision in Ixchel,
                     9   which rejected the presumption that Section 16600 renders contractual restraints on business-to-
                   10    business dealings void as a matter of public policy. Ixchel, 9 Cal.5th at 1150, 1160-1162. As the
                   11    Ixchel court explained, businesses routinely enter into contracts that limit their ability to conduct
                   12    business because “[s]uch arrangements can help businesses leverage complementary capabilities,
                   13    ensure stability in supply or demand, and protect their research, development, and marketing efforts
                   14    from being exploited by contractual partners.” Id. at 1160-61. As a result, Defendants’ conclusory
                   15    allegations that Section 4.3.2 of the Partner Agreement is void as a matter of public policy per se
                   16    cannot establish an independent wrong.
                   17            Finally, the exercise of contractual rights and “truthful statements to interested parties about
                   18    one’s standard business practices … [are] not wrongful conduct actionable as intentional
                   19    interference with prospective economic relations.” Arntz Contracting Co. v. St. Paul Fire & Marine
                   20    Ins. Co., 47 Cal.App.4th 464, 477 (1996). The alleged statements made to the IRS and others that
                   21    PureThink (and iGov as its successor-in-interest) was subject to a 36-month restriction on providing
                   22    support services to licensees of open source Neo4j® Software were accurate statements concerning
                   23    the restrictions that PureThink had voluntarily agreed to, and as a result cannot support an
                   24    intentional interference claim as a matter of law. Because Defendants do not alleged any other
                   25    independently wrongful act, the Court should dismiss their IIPEA claim with prejudice.
                   26                    2.      Defendants Fail to Allege Facts Plausibly Establishing that Neo4j USA
                                                 Caused the Disruption of an Actual Business Relationship with the
                   27                            Probability of Future Economic Benefit
                   28            In addition to failing to allege any independent act, there are no facts alleged from which a
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                     1   reasonable inference can be drawn that a specific economic relationship was actually disrupted or
                     2   impeded, or that Defendants suffered any damages as a result of Neo4j USA’s alleged statements.
                     3   California law precludes recovery for overly speculative expectancies in action for interference
                     4   with prospective economic advantage by initially requiring proof of business relationships that had
                     5   a probability of future economic benefits. See Silicon Knights, Inc. v. Crystal Dynamics, Inc., 983
                     6   F.Supp. 1303, 1311-12 (N.D. Cal. 1997) (finding intentional interference claim was insufficient
                     7   where the complaint only alleged that the misrepresentations induced distributors not to deal with
                     8   plaintiffs without providing facts alleging an actual disruption to negotiations or potential
                     9   contracts). Thus, Defendants must plausibly allege facts establishing that because of the alleged
                   10    acts by Neo4j USA, it either lost a specific contract, or was in the midst of negotiations with a
                   11    potential customer that pulled out of the negotiations or awarded business to another. See id.; see
                   12    also Sybersound Recs., Inc. v. UAV Corp., 517 F.3d 1137, 1151 (9th Cir. 2008) (affirming dismissal
                   13    of interference claim that set forth only general allegations of relationships being disrupted, as
                   14    opposed to a lost contract or failed negotiation) (citing Silicon Knights, 983 F.Supp. at 1313).
                   15            Defendants allege in a conclusory manner that they either had “relationship[s] with the
                   16    possibility of future economic relationships” or were working on “potential business opportunities”
                   17    with the numerous other government agencies identified in their SACC. Dkt. No. 72, ¶¶ 23-25.
                   18    They also allege that PureThink and iGov’s relationship with these agencies “was actually and
                   19    totally disrupted by NEO4J USA’s wrongful interference,” and as a result “lost sales, lost profits,
                   20    and future business with [sic].” Id., ¶¶ 31-32. These vague and conclusory allegations fall well
                   21    short of what is required at the pleading stage.2 See Silicon Knights, 983 F.Supp. at 1312-13
                   22    (allegations that defendants’ false statements to Microsoft, Activision and 3DO caused them not to
                   23    deal with plaintiff was insufficient because there were no facts establishing that Plaintiff had an
                   24

                   25    2
                            While Defendants allege that PureThink had entered into a contract with the IRS, Defendants do
                   26     not allege any specific facts plausibly showing that Neo4j USA’s alleged representation to IRS
                          that PureThink could not provide professional services to the IRS for three years as a result of the
                   27
                          termination of the Partner Agreement disrupted or caused the IRS to terminate that contract. See,
                   28     e.g., Dkt. No. 72, ¶¶ 18, 20-21, and Exh. D.
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                     1   actual relationship with them that was disrupted as a result of defendants’ conduct). Accordingly,
                     2   the Court should dismiss Defendants’ IIPEA claim on this additional ground.
                     3           B.      Defendants’ Declaratory Relief Claims Fail as a Matter of Law
                     4           The Declaratory Judgment Act states that “[i]n a case of actual controversy within its
                     5   jurisdiction,” federal courts “may declare the rights and other legal relations of any interested party
                     6   seeking such declaration, whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a).
                     7   However, declaratory relief “is discretionary, for the Declaratory Judgment Act is deliberately cast
                     8   in terms of permissive, rather than mandatory, authority.” Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d
                     9   1220, 1223 (9th Cir. 1998) (internal quotation omitted). In making such a determination, a court
                   10    first must determine whether there is an actual case or controversy within its jurisdiction. Principal
                   11    Life Ins. Co. v. Robinson, 394 F.3d 665, 669 (9th Cir. 2005). The court then must decide whether
                   12    to exercise that jurisdiction. Am. States Ins. Co. v. Kearns, 15 F.3d 142, 143-44 (9th Cir. 1994).
                   13            The determination of whether a court can or should exercise its discretion to entertain a
                   14    claim for declaratory relief is not static. See United Nat. Ins. Co. v. R&D Latex Corp., 242 F.3d
                   15    1102, 1111 (9th Cir. 2001) (whether to adjudicate declaratory relief claim need not be decided “on
                   16    the facts as they existed at the time the complaint was filed”). Indeed, “[n]o case has held that
                   17    changes to the scope or content of the federal litigation itself are not pertinent to the exercise of
                   18    Declaratory Judgment Act jurisdiction over that very action.” R & D Latex, 242 F.3d at 1111; see
                   19    also Steffel v. Thompson, 415 U.S. 452, 459 n. 10 (1974) (“an actual controversy must be extant at
                   20    all stages of review, not merely at the time the complaint is filed”). As such, the Ninth Circuit
                   21    “encourage[s] district courts assessing discretionary jurisdiction to take note of all existing
                   22    circumstances internal to the lawsuit in front of them that bear on the jurisdictional issue.” R & D
                   23    Latex, 242 F.3d at 111.
                   24            When a case becomes moot, the resulting lack of such a case or controversy deprives the
                   25    court of any ongoing jurisdiction. See Kremens v. Bartley, 431 U.S. 119, 128–29 (1977); see also
                   26    Foster v. Carson, 347 F.3d 742, 747 (9th Cir.2003) (“We do not have the constitutional authority
                   27    to decide moot cases.”). Mootness occurs “when the issues presented are no longer ‘live.’” City
                   28    of Erie v. Pap’s A.M., 529 U.S. 277, 287 (2000) (internal citation omitted). “The basic question in
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                     1   determining mootness is whether there is a present controversy as to which effective relief can be
                     2   granted.” Feldman v. Bomar, 518 F.3d 637, 642 (9th Cir. 2008); see also Expensify, Inc. v. White,
                     3   2019 WL 5295064, at *3 (N.D. Cal. Oct. 18, 2019), aff’d, 831 F. App’x 268 (9th Cir. 2020)
                     4   (recognizing that “[t]o determine whether an action has been rendered moot, courts in the Ninth
                     5   Circuit examine whether changes in the circumstances existing when the action was filed have
                     6   forestalled any meaningful relief”). As discussed in detail below, Defendants’ declaratory relief
                     7   counterclaims and related affirmative defense are now moot or otherwise fail as a matter of law.
                     8                   1.      Defendants’ Declaratory Relief Claim and Affirmative Defense
                                                 Regarding the Section 4.3.2 of the Partner Agreement Violating
                     9                           Section 16600 are No Longer Viable
                   10            Defendants’ Fifth Cause of Action seeks declaratory relief on whether the restrictions on
                   11    Defendants offering paid commercial support for Neo4j open source software imposed by Section
                   12    4.3.2 of the Partner Agreement are void as a matter of public policy pursuant to Cal. Bus. & Prof.
                   13    Code § 16600. See Dkt. No. 72, ¶¶ 54-57. Defendants’ First Affirmative Defense effectively
                   14    alleges the same. See Dkt. No. 91 at 14:4-22. This claim and defense are no longer viable.
                   15            The California Supreme Court has long held that “[w]hatever interest society has in
                   16    encouraging free and open competition... contractual stability is generally accepted as of greater
                   17    importance than competitive freedom.” Imperial Ice Co. v. Rossier, 18 Cal.2d 33, 36 (1941); see
                   18    Vernon v. Drexel Burnham & Co., 52 Cal. App. 3d 706, 716 (1975) (“The sanctity of valid
                   19    contractual agreements in a free society... is of paramount importance.”). As discussed above, the
                   20    California Supreme Court re-affirmed that those principles in Ixchel, which Defendants
                   21    inexplicably ignore. As Ixchel explains, “[w]here economic relationships have solidified into
                   22    binding future promises, the stability of the contractual relationship takes precedence over business
                   23    competition.” Ixchel, 9 Cal. 5th at 1147. Based on those principles, the Ixchel court made clear that
                   24    a contractual provision restricting one contracting party from competing with the other is not void
                   25    as a matter of public policy pursuant to Section 16600 as alleged by Defendants.
                   26            There is also no present controversy over the validity of the restrictions in Section 4.3.2 that
                   27    would allow this Court to continue its exercise of discretionary jurisdiction under the Declaratory
                   28    Judgment Act. This is confirmed by the SACC wherein Defendants allege that when Neo4j USA
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                     1   filed its Second Amended Complaint in November 2020, it removed allegations supporting a breach
                     2   of contract claim based on a violation of Section 4.3.2. Dkt. No. 72, ¶ 13. Defendants also admitted
                     3   in their opposition to Plaintiffs’ motion for summary judgment that the Partner Agreement
                     4   “terminated July 11, 2017” and the 36 month contract restrictions in § 4.3.2 of the Partner
                     5   Agreement … “invalid or not, expired July 11, 2020.” Dkt. No. 100 at 17:19-23. Because Neo4j
                     6   USA is not seeking to enforce the restrictions in Section 4.3.2, and it cannot do so due to the
                     7   expiration of those restrictions, Defendants’ request for declaratory judgment deeming those
                     8   restrictions void is moot and must be dismissed for lack of jurisdiction. See Cath. Charities CYO
                     9   v. Chertoff, 622 F.Supp.2d 865, 879 (N.D. Cal. 2008), aff’d sub nom. Cath. Charities CYO v.
                   10    Napolitano, 368 F. App’x 750 (9th Cir. 2010) (recognizing that “[a] federal court has no authority
                   11    to give opinions on moot questions”). The Court should therefore grant a judgment on the pleadings
                   12    on Defendants’ Fifth Cause of Action and First Affirmative Defense in favor of Neo4j USA.
                   13                    2.      Defendants’ Sixth Cause of Action and Affirmative Defenses Seeking a
                                                 Declaratory Judgment that Restrictions in the Partner Agreement
                   14                            Violate Section 10 of the AGPL are Not Legally Cognizable
                   15            Defendants’ Sixth Cause of Action seeks a declaratory judgment that Sections 4.3.1 and
                   16    4.3.2 of the Partner Agreement constitute “additional restrictions” in violation of Section 10 of the
                   17    AGPL and that they have a right under Sections 2 and 4 of the AGPL to use and modify the Neo4j
                   18    Software and offer support services for a fee. Dkt. No. 72, ¶¶ 58-61. Defendants allege that Neo4j
                   19    USA “is subject to the license limitation on restricting use of the open source version of Neo4j
                   20    [software]” because Neo4j USA offers a commercially licensed version of source code to the
                   21    Neo4j® Software that is based in part on the open source version. See id. Defendants’ Second and
                   22    Sixth Affirmative Defenses seek similar relief that these restrictions violate these same sections.
                   23    See Dkt. No. 91 at 14:23-16:5, 20:2-9. This is both a nonsensical and non-viable legal theory.
                   24            Nowhere do Defendants allege that Neo4j USA licensed source code to commercial version
                   25    of Neo4j® Software via the AGPL or added restrictions to that license. To the contrary, they allege
                   26    that Neo4j Sweden used the AGPL to license source code for Neo4j® Software. See Dkt. No. 72,
                   27    ¶¶ 7, 10. Since Neo4j USA is admittedly not a party to the AGPL, it is not constrained by the terms
                   28    of that agreement and cannot be in breach thereof. More importantly, since PureThink entered into
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                     1   the Partner Agreement and voluntarily gave up any unfettered rights that they claimed to have under
                     2   the APGL, they cannot now claim there is any conflict between the terms of that agreement and the
                     3   AGPL. See Universal Gym Equip., 827 F.2d at 1550; see also Ixchel, 9 Cal. 5th at 1147.
                     4           The express language of the AGPL also does not support this Defendants’ position. Section
                     5   10 states: “You may not impose any further restrictions on the exercise of rights granted or affirmed
                     6   under this License.” Dkt. No. 72, Exh. A, § 10 (emphasis added). Importantly, the AGPL defines
                     7   “you” as the licensee under the AGPL. Id., Exh. A at § 0 (“Each licensee is addressed as ‘you’”).
                     8   Thus, there is no way that Section 10 can be read to allow Defendants as a licensee under the AGPL
                     9   to disregard restrictions they agreed to in an entirely separate agreement. Even if Defendants were
                   10    correct that the AGPL allowed them as licensees to remove “additional restrictions,” which they
                   11    are not, this language is limited to those that are actually added to the AGPL. See id., Exh. A, § 7
                   12    (“If the Program as you received it, or any part of it, contains a notice stating that it is governed by
                   13    this License along with a term that is a further restriction, you may remove that term.”).
                   14            There is also no current case and controversy regarding whether Section 4.3.1 of the Partner
                   15    Agreement may be enforced against Defendants in a manner contrary to the terms of the AGPL.
                   16    Under Section 4.3.1 PureThink agreed to refrain from (a) developing, reverse engineering,
                   17    distributing or otherwise using source code released on an open source basis for Neo4j® Software
                   18    for its own internal use; and (b) forking the source code for Neo4j® Software released on an open
                   19    source basis into a separately maintained source code repository during the term of the Partner
                   20    Agreement. See Dkt. No. 72, Exh. B. Since the Partner Agreement was terminated in July 2017,
                   21    this provision could no longer be enforced by its own terms at that time. See Dkt. No. 72, Exh. D;
                   22    Dkt. No. 90 at ¶ 35, Exh. 4 and Dkt. No. 91 at ¶ 35 (admitting same). Defendants also do not allege
                   23    Neo4j USA has sought to enforce Section 4.3.1 after the termination of the Partner Agreement.
                   24    Consequently, there is no current case or controversy upon which the Court can exercise its
                   25    jurisdiction under the Declaratory Judgment Act. The Court should therefore grant a judgment on
                   26    Defendants’ Sixth Cause of Action and Second and Sixth Affirmative Defenses in favor of
                   27    Plaintiffs and dismiss them with prejudice.
                   28     ///
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                     1           C.      The Court Should Deny Defendants Leave to Amend
                     2           If the Court determines that judgment on the pleadings is warranted, it must then decide
                     3   whether to grant leave to amend. See Harris v. Cnty. of Orange, 682 F.3d 1126, 1131 (9th Cir.
                     4   2012). In this regard, the Court should not grant leave to amend “where doing so would be an
                     5   exercise in futility.” Low v. LinkedIn Corp., 900 F.Supp.2d 1010, 1033 (N.D. Cal. 2012). The
                     6   Court “may deny a plaintiff leave to amend if it determines that allegation of other facts consistent
                     7   with the challenged pleading could not possibly cure the deficiency.” Telesaurus VPC, LLC v.
                     8   Power, 623 F.3d 998, 1003 (9th Cir. 2010). Likewise, the Court should deny leave to amend where
                     9   the facts are not in dispute, and the sole issue is whether there is liability as a matter of substantive
                   10    law. See Albrecht v. Lund, 845 F.2d 193, 195–96 (9th Cir. 1988).
                   11            Defendants have already amended their counterclaims three times in this litigation and their
                   12    affirmative defenses several times over the past three years – and did so well after discovery
                   13    commenced. Plaintiffs met and conferred with Defendants to see whether they could propose new
                   14    or different facts to save the aforementioned counterclaims and affirmative defenses. See Ratinoff
                   15    Decl., ¶¶ 3-6 and Exhs. 1-2. The fact that Defendants failed to provide a substantive response as to
                   16    why their claims and defenses could be saved suggests they cannot overcome the defects detailed
                   17    above. Moreover, the vast majority of the defects are legal in nature and cannot be overcome by
                   18    alleging additional facts. Thus, granting Defendants leave to amend would be futile.
                   19    V.      CONCLUSION
                   20            For the foregoing reasons, Plaintiffs respectfully request that Court grant this motion for
                   21    judgment on the pleadings and dismiss (a) the First, Fifth and Sixth Causes of Action asserted in
                   22    the SACC; and (b) the First, Second, and Sixth Affirmative Defenses asserted in Defendants’
                   23    Answer to the Third Amended Complaint with prejudice.
                   24    Dated: September 3, 2021                            HOPKINS & CARLEY
                                                                             A Law Corporation
                   25
                                                                             By: /s/ Jeffrey M. Ratinoff
                   26
                                                                                Jeffrey M. Ratinoff
                   27                                                           Attorneys for Plaintiffs and Counter-
                                                                                Defendants NEO4J, INC. and
                   28                                                           NEO4J SWEDEN AB
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